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                      IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DISTRICT

UNITED STATES OF AMERICA                                                           PLAINTIFF

V.                                    NO. 4:15CV-181-JM

MAHMOOD AHMAD, M.D. and
UNITED PAIN CARE, LTD. d/b/a
UNITED PHARMACY                                                                DEFENDANTS

V.

PAMELA HASTINGS WEST and
ALBERT RINCHUSO                                                 THIRD PARTY DEFENDANTS

                              STIPULATION OF DISMISSAL

       Pursuant to Rule 41 (1) (A) (ii), defendants and third party defendants hereby stipulate

that the third party complaint is hereby dismissed without prejudice.

                                      Respectfully submitted,

                                      /s/Timothy O. Dudley,
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                                      BY:/s/ Timothy O. Dudley


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